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EXHIBIT 6

 

 

 

GL SOUTHERN GLAZER’S WINE AND SPIRITS
“4, 313 Underhill Blvd.

Syosset, NY 11797

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Bus: 516.730.3677

vn

o John Wilkinson
AND sr Warehouse Director

Memo

To: Maria Suarez

From: John Wilkinson

Date: September 2, 2016

Subject: WMI Administrator Performance Expectations

 

During the last 12 weeks SGWS at great expense has brought in WMI subject matter experts to
assist Metro in setting up the Syosset warehouse, as well as, train all employees on the new
requirements pertaining to his or her position. During this timeframe you were repeatedly asked to
spend time with the conversion team and to learn how each of them manage their individual
locations. It was repeatedly brought to my attention that you spent very little time at the WMI
desk interacting with the experts and was uncooperative during training and indicating that you
were confident you had master the new process for inventory control.

Since our go live date with WMI there have been several large errors made by you that could have
been financially detrimental to SGWS. Specifically you are making negative adjustments to
inventory without verifying and researching the discrepancy. An example is on August 19" you
counted out an entire pallet of Faust Cabernet, only to be found later in the speedline. You did not
research the misplaced pallet nor did you communicate the discrepancy. Another example
happened on Friday, August 26 when you counted out 49 cases of Concannon Cabernet only to
have 41 cases found and added back into inventory on August 29", These are just two examples
of the numerous errors that have been found and corrected.

To clarify my expectations going forward it is anticipated that any large adjustment must be
physically reviewed and researched by you and then communicated to Tonisha, Eric, Steve, Kevin
and myself prior to making the adjustment from inventory. I define a large adjustment to be
anything over 20 cases or valued over $500.00. I understand that often the cycle count is correctly
done by an Inventory Control Clerk, however, follow through must happen going forward. The
task is not complete until the misplaced inventory is found by you or a member of your team. If
you are not successful it needs to be communicated to those listed above.

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Maria, I and the rest of the team are here to help support you throughout the learning process. It
is my expectation that Syosset’s inventory control will function the same as Syracuse and the other
locations throughout SGWS. Melissa Johnson, Danny Layman and Manny Porras will continue
to offer you training and guidance, I encourage you to learn as much as you can from them as they
are managing successful locations.

I am including a copy of your job description and the Cycle Counting Daily Procedure that Steve
outlined to everyone last week for your review. Again, the entire team is available to help guide
you and aid in your success in your new role. Please let me know if there is any additional training
that you would like made available to you or if I can make arrangements to have the subject matter
experts spend more time with you and I will make it happen.

 

I have reviewed the above and the performance expectations for a WMI Administrator and
acknowledge my role and responsibilities. I further understand that failure to follow directives

may lead to disciplinary action, up to and including termination
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Marig/Suarez (Date) i ohn Wilkinson ate)

    

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